        Case 5:18-cv-01029-TJS Document 37 Filed 09/20/18 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PHAROAH CASTRO                        :       CIVIL ACTION
                                      :
       v.                             :
                                      :
DEPUTY DIRECTOR KASTORA, Et. Al. :
Director of Correction, RN MICHELLE   :
CORA, RN JESSICA JONES, RN            :
JENNIFER MROZ, RN JENNIFER            :
KELLER, DR. THOMAS, Psychologist,     :
OFFICER THELESMA, RN KRISTEN          :
HUI, RN NICOLE REISS, JOHN DOE 1,     :
2, 3, KENNETH R. WOCZEWSKI, DR.       :
DANIEL HECKMAN, RN. PATRICIA          :
KIEBA, SUPERINTENDENT CYTHIAN         :
LINK, MEDICAL PROVIDER, MR.           :
KORSZNIAK, Health Care Administrator, :
SECRETARY JOHN WETZEL,                :
SUPERINTENDENT MICHAEL                :
OVERMYER and MEDICAL PROVIDER, :
All Sued in Defendants Individual     :
And Official Capacities               :       NO. 18-1029

                                       ORDER

      NOW, this 20th day of September, 2018, upon consideration of the PrimeCare

Medical Defendants’ Motion to Dismiss Plaintiff’s Complaint (Document No. 15) and the

plaintiff’s responses (Document Nos. 23 and 27), it is ORDERED that the motion is

GRANTED.

      IT IS FURTHER ORDERED that the complaint is dismissed as to the defendants

Kenneth R. Wolczewski, D.O.; Alex Thomas, M.D.; Jennifer Mroz, PA-C; Jessica Jones,

LPN; Nicole Reiss, LPN, Jennifer Keller, RN; Kristen Hui, RN; and Michelle Cora, RN.



                                                     /s/TIMOTHY J. SAVAGE
